        Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 1 of 16. PageID #: 1




                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO

 Siemens Gamesa Renewable Energy, Inc.,

                       Plaintiff,

         v.                                         Case No. 1:25-cv-00057

 RiverCap Ventures, Inc., RiverCap Holdings,
 LLC, Canvus, Inc., Noblewins LLC, Brian
 Donahue, an individual, Alexander G.
 Kowalski, an individual, Cory Johnson, an
 individual.

                       Defendants.

                                         COMPLAINT

        Plaintiff, Siemens Gamesa Renewable Energy, Inc. (“SGRE”), by and through its

undersigned counsel, hereby brings this Complaint against Defendants, and in support thereof

alleges as follows:

                         PARTIES, JURISDICTION, AND VENUE

        1.     Plaintiff SGRE is a Delaware corporation with its principal place of business in

Orlando, Florida. SGRE is a citizen of Delaware and Florida.

        2.     Defendant RiverCap Ventures, Inc. (“RiverCap”) is an Ohio for-profit corporation

with its principal place of business in Rocky River, Ohio. Accordingly, RiverCap is a citizen of

Ohio.

        3.     Defendant RiverCap Holdings, LLC (“RiverCap Holdings”) is an Ohio limited

liability company with its principal place of business in Rocky River, Ohio. RiverCap Holdings

has five members: (1) Alex Kowalski, an individual domiciled in Ohio and, therefore, a citizen of

Ohio; (2) Miguel Zubizarreta, an individual domiciled in Ohio and, therefore, a citizen of Ohio;

                                                1
        Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 2 of 16. PageID #: 2




(3) John O’Brien, an individual domiciled in California and, therefore, a citizen of California; (4)

Dave Griffiths, an individual domiciled in Ohio and, therefore, a citizen of Ohio; and (5) Mike

Bornhorst, an individual domiciled in Ohio and, therefore, a citizen of Ohio. Accordingly,

RiverCap Holdings is a citizen of Ohio and California.

        4.      Defendant Canvus, Inc. (“Canvus”) is an Ohio for-profit corporation with its

principal place of business in Rocky River, Ohio. Accordingly, Canvus is a citizen of Ohio.

        5.      Defendant Noblewins LLC (“Noblewins”) is an Ohio limited liability company

with its principal place of business in Rocky River, Ohio. Brian Donahue, who is domiciled in

Ohio, is a member of Noblewins. Upon information and belief, there are no other members of

Noblewins. Accordingly, Noblewins is a citizen of Ohio.

        6.      Defendant Brian Donahue (“Donahue”) is an individual domiciled in Ohio and,

therefore, is a citizen of Ohio.

        7.      Defendant Alexander G. Kowalski (“Kowalski”) is an individual domiciled in

Ohio and, therefore, is a citizen of Ohio.

        8.      Defendant Cory Johnson (“Johnson”) is an individual domiciled in Ohio, and

therefore, is a citizen of Ohio.

        9.      Jurisdiction is proper under 28 U.S.C. § 1332 because there is complete diversity

of citizenship between Plaintiff, a citizen of Delaware and Florida, and Defendants, citizens of

Ohio and California, and the amount in controversy exceeds $75,000.00 in value, exclusive of

costs and interest.

        10.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the events

or omissions giving rise to the claims occurred within this District and the Defendants reside in

Ohio.



                                                 2
            Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 3 of 16. PageID #: 3




            11.    This Court has personal jurisdiction over Defendants because Defendants Donahue,

  Kowalski, and Johnson are domiciled in Ohio and Defendants Canvus, Noblewins, RiverCap, and

  RiverCap Holdings have their principal place of business in Ohio, transact business in Ohio, and

  are organized and/or incorporated under the laws of Ohio.

                                       GENERAL ALLEGATIONS

I.          The Master Services Agreements and RiverCap’s Material Breaches.

            12.    On April 8, 2019, SGRE and RiverCap, formerly known as ExchangeBase, LLC,

  entered into a Master Services Agreement (the “2019 Agreement”) under which, and pursuant to

  separate purchase orders issued by SGRE, RiverCap was obligated to remove from several project

     sites and recycle certain wind turbine blades associated with various wind turbine repowering

     projects known as the Adair, Elbow Creek, Wildorado, Oliver, Northern Colorado, and Mower

     projects (the “2019 Projects”).

            13.    On September 14, 2021, SGRE and RiverCap, formerly known as RiverCap

     Ventures, LLC, entered into a separate Master Services Agreement (the “2021 Agreement”) under

 which RiverCap was obligated to remove from several project sites and recycle certain wind

 turbine blades associated with various wind turbine repowering projects known as the Pomeroy,

 Laurel, Rolling Hills, and Ensign projects (the “2021 Projects”).

            14.    On December 5, 2022, SGRE and RiverCap agreed on Purchase Order No.

 3000044682 (the “2022 Agreement”) pursuant to which RiverCap was to perform services for

 SGRE at the Midway wind farm including removing certain wind turbine components located at

 the Midway wind farm.

            15.    Despite RiverCap’s agreement to complete its work under the 2019 Agreement by

  July 25, 2020, RiverCap failed to do so. In fact, RiverCap never completed its work under the 2019

  Agreement.

                                                   3
       Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 4 of 16. PageID #: 4




       16.     RiverCap also failed to meet the work schedule under the 2021 Agreement and, to

this day, has not completed the work it is obligated to perform under the 2021 Agreement.

       17.     SGRE and RiverCap also had disputes concerning RiverCap’s failure to perform

under the 2022 Agreement.

 II.   The Settlement Agreement and RiverCap’s Material Breach.

       18.     After SGRE gave written notice to RiverCap of its material breaches under the

various agreements between SGRE and RiverCap and demanded that RiverCap cure its material

breaches, SGRE and RiverCap, on December 15, 2023, entered into a Settlement and Release

Agreement (the “Settlement Agreement”). A true and correct copy of the Settlement Agreement

is attached hereto as Exhibit 1.

       19.     The Settlement Agreement was negotiated and executed by Donahue purportedly

on behalf of RiverCap.

       20.     In the Settlement Agreement, RiverCap agreed to complete the following work no

later than December 31, 2024:

               a.       Recycle all wind turbine blades from the Rolling Hills project (the “RH
                        Blades”) and deliver to SGRE the corresponding recycling certificates; and

               b.       Remove all wind turbine blades from the Mower project (the “Mower
                        Blades”) from their location in Grand Meadow, Minnesota, and transport
                        all Mower Blades to a location that does not create legal or nuisance issues
                        and storage or disposal in compliance with all applicable laws.

       21.     RiverCap further agreed in paragraph 4 of the Settlement Agreement that, in the

event any legal or nuisance issues or complaints arise, it would relocate the RH Blades and Mower

Blades at RiverCap’s sole cost within ninety (90) days of becoming aware of the legal or nuisance

issues or complaints.




                                                 4
       Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 5 of 16. PageID #: 5




       22.     RiverCap agreed that if it did not complete the work described in paragraph 4 of

the Settlement Agreement, SGRE has the right, but not obligation, to take possession of the RH

Blades or the Mower Blades, remove such blades from their location and move such blades to any

other location, at the sole and absolute discretion of SGRE. RiverCap agreed that it would be liable

to SGRE for all costs related to moving and recycling or otherwise processing the RH Blades or

Mower Blades, at SGRE’s sole and absolute discretion.

       23.     Pursuant to paragraph 7 of the Settlement Agreement, SGRE agreed that it would

transport wind turbine blades from the Oliver project (the “Oliver Blades”) from North Dakota to

RiverCap’s Canvus facility in Ohio. In exchange, RiverCap agreed to pay SGRE the total of

$161,700 no later than thirty (30) days after SGRE completed delivery of the Oliver Blades to

RiverCap’s Canvus facility in Ohio. RiverCap also agreed to recycle the Oliver Blades.

A.     RiverCap Fails to Pay for Transportation of the Oliver Blades.

       24.     SGRE completed delivery of the Oliver Blades to RiverCap’s Canvus facility in

Ohio on January 29, 2024. On March 7, 2024, SGRE submitted to RiverCap an invoice for the

amount of $161,700 due pursuant to paragraph 7 of the Settlement Agreement (the “Oliver Blades

Invoice”). A true and correct copy of the Oliver Blades Invoice is attached hereto as Exhibit 2.

       25.     To this day, RiverCap has not paid the Oliver Blades Invoice.

B.     RiverCap Fails to Remove the Mower Blades from Grand Meadows, Minnesota.

       26.     On or around February 22, 2024, the city administrator for the city of Grand

Meadows, Minnesota, James Christian, contacted Donahue to notify Donahue and RiverCap that

the Mower Blades continued to be a nuisance at their location in Grand Meadows, Minnesota and

demanded that RiverCap remove the Mower Blades from Grand Meadows, Minnesota. Indeed,




                                                 5
       Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 6 of 16. PageID #: 6




Donahue and RiverCap have been on notice from the City of Grand Meadows that the Mower

Blades posed a nuisance issue since at least 2022.

       27.     Despite being placed on notice multiple times that the Mower Blades were a

nuisance at their Grand Meadows, Minnesota location—including through the city’s administrator

and a newspaper article for which Donahue was interviewed—RiverCap never made any efforts

to remove the Mower Blades from Grand Meadows, Minnesota.

       28.     Accordingly, on or around October 9, 2024, SGRE began the process of removing

the Mower Blades from the city of Grand Meadows, Minnesota so that they may be appropriately

recycled.

       29.     SGRE completed the removal and recycling of the Mower Blades in October 2024

at a cost to SGRE of no less than $1,100,000.00.

       30.     SGRE has not been compensated for its costs in removing the Mower Blades from

Grand Meadows, Minnesota and recycling the Mower Blades.

C.     RiverCap’s Anticipatory Breach of its Obligation to Recycle the RH Blades.

       31.     Despite agreeing to complete the recycling of all RH Blades by no later than

December 31, 2024, RiverCap has taken no steps to complete such recycling and it has no intention

(and never had any intention) to complete such work.

       32.     On or around August 9, 2024, Donahue publicly stated that RiverCap was out of

business since 2022 and had no ability to perform any work pertaining to the transportation or

recycling of wind turbine blades.

       33.     Indeed, in a newspaper article titled “‘Seriously, this sucks’: How a small

Minnesota town was left with a giant pile of wind turbine blades” and published on August 9, 2024

in The Minnesota Star Tribune, Donahue is quoted as stating that “he and other top leaders at

RiverCap left and the company went out of business” in 2022. Donahue is further quoted as
                                                6
                Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 7 of 16. PageID #: 7




       indicating that, as a result of RiverCap going out of business, he and another former RiverCap

       worker “helped create a new venture called Canvus that took over responsibility for the blades in

       2022.”

                34.   Yet, Donahue, in that same August 9, 2024 article, is also quoted as stating that

       even “Canvus doesn’t have enough money to move the blades either….” In a subsequent article

       published on September 5, 2024 in The Minnesota Star Tribune, Donahue is quoted as saying that

       Canvus went out of business in August 2024.

                35.   On September 26, 2024, SGRE sent a demand letter to RiverCap declaring it in

       anticipatory breach of its obligations under Paragraph 4(a) of the Settlement Agreement. RiverCap

       never responded to SGRE’s September 26, 2024 demand letter. A true and correct copy of the

       demand letter is attached hereto as Exhibit 3.

                36.   Through Donahue’s own words and its own actions and inactions, RiverCap has

       repudiated its obligations under Paragraph 4(a) of the Settlement Agreement, and it is evident that

       RiverCap has breached its obligations under the Settlement Agreement and has no intention or

       capacity to perform any of its remaining obligations under the Settlement Agreement.

III.            Canvus and Noblewins are RiverCap’s Successors.

                37.   Upon information and belief, RiverCap, Canvus, and Noblewins share the same

       principal place of business at 18500 Lake Road, Rocky River, Ohio 44116.

                38.   According to Donahue’s own recent public statements, and unbeknownst to SGRE,

       RiverCap (and RiverCap Holdings as its sole parent company) went out of business in 2022. Also

       according to Donahue in recent public statements, that same year, Canvus took over RiverCap’s

       business including, without limitation, responsibility over the Mower Blades that RiverCap was

       responsible for moving from Grand Meadows, Minnesota and recycling.



                                                        7
       Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 8 of 16. PageID #: 8




       39.     In fact, Canvus became the successor of RiverCap because its entire business model

is premised on RiverCap’s business model—i.e., obtaining wind turbine generator blades to

recycle them—and its assets, equipment and customers were all received from RiverCap.

       40.     Like RiverCap, Canvus is controlled and dominated by Kowalski and Donahue.

       41.     Upon information and belief, Kowalski, Donahue, and Johnson improperly

transferred all the assets of RiverCap to Canvus in an effort to fraudulently avoid RiverCap’s long

line of creditors that include SGRE. In short, in 2022, RiverCap became insolvent and incapable

of meeting its obligations. Accordingly, Kowalski, Donahue, and Johnson used Canvus as the

vehicle to attempt to continue RiverCap’s business without RiverCap’s obligations.

       42.     When Canvus also became insolvent and incapable of meeting its obligations,

Kowalski, Donahue, and Johnson repeated the same fraudulent scheme to avoid creditors. They

created Noblewins on or around August 20, 2024.

       43.     Indeed, by Donahue’s own public admissions, all assets of Canvus including its

book of business and intellectual property, were transferred from Canvus to Noblewins. Upon

information and belief, the assets of Canvus were transferred to Noblewins without Noblewins

paying fair market value and the transfer is nothing more than a continuing fraudulent attempt to

avoid Canvus’ and RiverCap’s liabilities including their liabilities to SGRE.

       44.     Noblewins’ website, www.noblewins.com, advertises the same products and

services that Canvus advertised in its website, www.gocanvus.com.

       45.     Noblewins is also controlled and dominated by Donahue and Kowalski.

       46.     Rather than undergoing a proper wind up and dissolution process, Donahue,

Kowalski, and Johnson stripped RiverCap of its assets and business and transferred it to Canvus.

Then, when Canvus also became insolvent or unable to meet its obligations, they repeated the same



                                                8
             Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 9 of 16. PageID #: 9




      scheme transferring Canvus’s assets to Noblewins instead of undergoing a proper process of wind

      up and dissolution. All of the foregoing has been in an effort to avoid a long line of creditors, that

      include SGRE, after Donahue’s and Kowalski’s failed business ventures.

             47.     Thus, Canvus and Noblewins are merely a continuation of RiverCap. Moreover,

      the transfers of assets from RiverCap to Canvus and from Canvus to Noblewins were done

      fraudulently for the purpose of escaping liability to each entities’ creditors including SGRE.

IV.          Defendants are all One and the Same and Donahue, Kowalski, and Johnson are
             Personally Liable to SGRE.

             48.      Donahue and Kowalski are personally liable to SGRE because RiverCap,

   RiverCap Holdings, Canvus, and Noblewins are their alter egos and/or the corporate veil should

   be pierced at each level to impose liability upon Donahue and Kowalski.

             49.     Donahue and Kowalski, with the aid of Johnson as well, had complete domination

  and control over RiverCap and RiverCap Holdings to such an extent that the companies had no

  separate mind, will, or existence of their own. Indeed, this is evident by the transfer of assets and

  business from RiverCap to Canvus and from Canvus to Noblewins with no legitimate purpose or

  payment of fair market value. Throughout this process, Donahue, Kowalski, and Johnson

  disregarded the corporate formalities and processes including, without limitation, failing to

  properly wind up and dissolve RiverCap, RiverCap Holdings, and Canvus. Instead, Donahue,

  Kowalski, and Johnson simply abandoned each entity and transferred operations to a new entity—

  now, Noblewins.

             50.     RiverCap Holdings as the sole parent company of RiverCap is merely another shell

  in Donahue’s and Kowalski’s game whose only purpose is to shield assets, not pay debts, including

  the debts owed to SGRE, and avoid obligations owed to third parties, including SGRE. RiverCap

  Holdings has no separate mind, will, or existence from either RiverCap or the ultimate individuals


                                                        9
      Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 10 of 16. PageID #: 10




in control: Donahue and Kowalski. In other words, RiverCap and RiverCap Holdings have always

been one and the same.

       51.     RiverCap, RiverCap Holdings, Canvus, and Noblewins are a mere façade for the

operations of Donahue and Kowalski. Donahue and Kowalski, with the aid of Johnson, create new

entities or use other entities for no purpose other than attempting to shield assets, not pay debts,

including the debts owed to SGRE, and avoid obligations owed to third parties, including SGRE.

       52.     Indeed, while Donahue has publicly claimed to have been “fired” by Kowalski from

Canvus, he also admits that just five (5) days later he created Noblewins and claims to have

transferred all of Canvus’ assets to Noblewins. That could only have occurred if the companies are

a mere façade for Donahue’s and Kowalski’s operations and they are completely controlled and

dominated by Donahue and Kowalski with the aid of Johnson.

       53.     Moreover, while RiverCap, RiverCap Holdings, and Canvus are said to be out of

business, Donahue claims to have possession of the Oliver Blades that SGRE transported to

Canvus’s facility in Ohio and the RH Blades. Donahue is attempting to use the Oliver Blades and

RH Blades for Noblewins’ business and shockingly requested that SGRE move the Oliver Blades

(again) and the RH Blades from their current location in Ohio but allow him to retain parts from

the Oliver Blades that he can use for Noblewins.

       54.      Donahue should also be held personally liable for RiverCap’s liability to SGRE

under the Settlement Agreement because Donahue executed the Settlement Agreement knowing

(and without disclosing to SGRE) that RiverCap was out of business, would not be able to perform,

and had no present intention of performing. The Settlement Agreement was executed in December

2023, yet Donahue admits that RiverCap went out of business as early as 2022.




                                                10
      Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 11 of 16. PageID #: 11




       55.     Donahue, thus, fraudulently induced SGRE to enter into the Settlement Agreement

because he never disclosed to SGRE that RiverCap was out of business as of 2022. Donahue failed

to disclose that material fact to SGRE because he knew that if he did, then SGRE would pursue its

rights and claims instead of entering into the Settlement Agreement. Donahue led SGRE to believe

that RiverCap had the present intention and capacity to perform under the Settlement Agreement

all in an effort to fraudulently induce SGRE to enter into the Settlement Agreement. Donahue also

fraudulently induced SGRE to move the Oliver Blades to RiverCap’s Canvus facility in Ohio so

that he could continue his business through Canvus while attempting to escape from RiverCap’s

liabilities to SGRE. SGRE would not have entered into the Settlement Agreement if it had known

that RiverCap was out of business as of 2022.

       56.     Under Ohio law, an officer, director, or shareholder is personally liable for contracts

entered into that are not in the act of winding up corporate affairs of a dissolving corporation.

RiverCap never went through the proper wind up and dissolution process in 2022 or 2023. The

Settlement Agreement was not entered into as an act in connection with the proper wind up and

dissolution of RiverCap. Accordingly, under Ohio law, Donahue is also personally liable under

the Settlement Agreement. See generally Chatman v. Day, 455 N.E.2d 672, 674 (Ohio Ct. App.

1982) (describing general rule that “upon the corporation’s death, those officers, directors or

shareholders who continue to engage in corporate business other than winding up the affairs of the

company will be held personally liable for such activity.”).

       57.     Johnson should also be held personally liable for RiverCap’s liability to SGRE

under the Settlement Agreement because in his position as CFO of RiverCap and RiverCap

Holdings, Johnson aided Donahue in fraudulently inducing SGRE to enter into the Settlement

Agreement.



                                                 11
      Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 12 of 16. PageID #: 12




       58.     Indeed, Johnson was aware that SGRE had asserted demands and claims against

RiverCap for its breaches of the 2019, 2021, and 2022 Agreements and that RiverCap and SGRE

were in the process of attempting to resolve those disputes through the Settlement Agreement.

Johnson was aware of this dispute because he was the designated contact for receiving notices

under RiverCap’s and SGRE’s agreements and he, in fact, received and responded to SGRE’s

notices that RiverCap was in material breach under the 2019, 2021, and 2022 Agreements.

Notwithstanding the fact that RiverCap was insolvent and/or unable to carry out its business in

2023, Johnson did not disclose that material fact to SGRE in an effort to induce SGRE to enter

into the Settlement Agreement and forego its ability to pursue claims against RiverCap in 2023.

Upon information and belief, Kowalski aided Donahue and Johnson in fraudulently inducing

SGRE to enter into the Settlement Agreement.

       59.     All conditions precedents to bringing this action have been performed or waived.

                              COUNT I – BREACH OF CONTRACT
                        (Against all Defendants except Canvus and Noblewins)

       60.         SGRE hereby re-alleges and incorporates by reference paragraphs 1-59 as if fully

restated herein.

       61.         The Settlement Agreement is a valid and enforceable contract between SGRE and

RiverCap.

       62.     RiverCap breached the Settlement Agreement by failing to pay SGRE for

transportation of the Oliver Blades and failing to move the Mower Blades after being on notice of

nuisance complaints regarding the Mower Blades.

       63.     RiverCap anticipatorily breached the Settlement Agreement because it has made

clear it has no intent and/or ability to complete recycling of all RH Blades as required by the

Settlement Agreement and the 2021 Agreement.

                                                  12
     Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 13 of 16. PageID #: 13




       64.      As a direct and proximate result of RiverCap’s breaches of the Settlement

Agreement, SGRE has suffered damages including, but not limited to, over $1,200,000 in costs

for moving and disposing the Mower Blades and transporting the Oliver Blades.

       65.       As a result of RiverCap’s breaches of the Settlement Agreement, RiverCap is also

liable to SGRE for the following costs and damages suffered by SGRE:

             a. $139,000 pursuant to paragraph 9 of the Settlement Agreement and relating to

                SGR’s settlement of RiverCap’s outstanding judgment in favor of and other debt

                owed to RiverCap’s subcontractor, Continental Crane and Equipment Services,

                LLC, including the total cost SGRE expended to settle said judgment and other

                debts, all cash reimbursements, and reasonable attorneys’ fees and costs;

             b. $2,392,227.30 pursuant to paragraph 10 of the Settlement Agreement and relating

                to the recycling of the RH Blades, the wind turbine blades from the Ensign project,

                and the wind turbine blades from the Laurel project that were not recycled by

                RiverCap and were located at the facilities of Veolia ES Technical Solutions, LLC

                in Missouri, plus reasonable attorneys’ fees and costs SGRE expends in enforcing

                its rights under paragraph 10 of the Settlement Agreement;

             c. $633,000 pursuant to paragraph 12 of the Settlement Agreement and relating to

                SGRE being double invoiced by RiverCap and which were paid by SGRE, plus

                reasonable attorneys’ fees and costs SGRE expends in enforcing its rights under

                paragraph 12 of the Settlement Agreement; and

             d. $96,000 pursuant to paragraph 13 of the Settlement Agreement and relating to

                RiverCap’s delays in the performance of its work at the Rolling Hills project, plus




                                                13
     Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 14 of 16. PageID #: 14




              reasonable attorneys’ fees and costs SGRE expends in enforcing its rights under

              paragraph 13 of the Settlement Agreement.

       66.    Despite demands by SGRE, RiverCap has refused and failed to compensate SGRE

for any amounts due and owing under the Settlement Agreement or the costs and damages suffered

by SGRE as a result of RiverCap’s breaches of the Settlement Agreement. SGRE continues to

suffer damages as a direct and proximate result of RiverCap’s breaches of the Settlement

Agreement, the precise amount of which will be proven at trial.

       67.    RiverCap Holdings is liable for RiverCap’s liabilities under the Settlement

Agreement because it is merely the alter ego of RiverCap and/or the corporate veil should be

pierced to reach RiverCap Holdings.

       68.    Donahue and Kowalski are liable for RiverCap’s liabilities under the Settlement

Agreement because RiverCap and RiverCap Holdings are their mere alter egos and/or the

corporate veil should be pierced to impose liability upon Donahue and Kowalski.

       69.    Johnson should be held liable for RiverCap’s liabilities under the Settlement

Agreement because Johnson aided in the fraudulent inducement of SGRE. Johnson was aware of

and participated in the discussions between SGRE and RiverCap concerning RiverCap’s material

breaches under the 2019, 2021, and 2022 Agreements. Johnson was also aware and participated in

the discussions leading to the preparation of the Settlement Agreement. However, Johnson—as

the CFO of RiverCap—knew that RiverCap was out of business and had no present intention to

perform under the Settlement Agreement. But Johnson never disclosed this material fact to SGRE

because he knew that if he did, then SGRE would not enter into the Settlement Agreement.

Johnson, thus, in his capacity as CFO of RiverCap participated in the fraudulent scheme to induce

SGRE to enter into the Settlement Agreement.



                                               14
      Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 15 of 16. PageID #: 15




       WHEREFORE, Plaintiff, SGRE, demands entry of judgment against RiverCap, RiverCap

Holdings, Donahue, Kowalski, and Johnson, jointly and severally, finding that each is responsible

for all amounts owed to SGRE by RiverCap, plus pre and post-judgment interest, and further

demands such other relief as the Court deems just and proper.

                              COUNT II – SUCCESSOR LIABILITY
                                 (Against Canvus and Noblewins)

       70.         SGRE hereby re-alleges and incorporates by reference paragraphs 1-59 as if fully

restated herein.

       71.     Canvus is liable to SGRE as successor to RiverCap for RiverCap’s breaches of the

Settlement Agreement and all amounts owed to SGRE.

       72.     Noblewins is liable to SGRE as successor to RiverCap and/or Canvus for

RiverCap’s breaches of the Settlement Agreement and all amounts owed to SGRE thereunder.

       73.     Canvus is as a mere continuation of RiverCap. While the name of the business

changed, the substance did not, and there is a continuity of control, location, management,

personnel, and business operations from RiverCap to Canvus. Moreover, upon information and

belief, RiverCap’s assets were fraudulently transferred to Canvus for the purpose of attempting to

escape RiverCap’s liabilities.

       74.     Noblewins was created as a mere continuation of RiverCap and Canvus. While the

name of the business changed, the substance did not, and there is a continuity of control, location,

management, personnel, and business operations from RiverCap to Canvus and from Canvus to

Noblewins.

       75.     Noblewins was also created in a fraudulent effort to avoid the liabilities of its

predecessors, RiverCap and Canvus, and is part of the conscious effort by Donahue and Kowalski,




                                                  15
      Case: 1:25-cv-00057-DAP Doc #: 1 Filed: 01/13/25 16 of 16. PageID #: 16




aided by Johnson (and possibly others), to defraud, hinder, and delay SGRE from obtaining

payment of the debts owed to it by RiverCap.

       WHEREFORE, Plaintiff, SGRE, demands entry of judgment against Canvus and

Noblewins, as the successors to RiverCap, finding Canvus and Noblewins responsible for all

amounts owed to SGRE by RiverCap, plus pre and post-judgment interest, and further demands

such other relief as the Court deems just and proper.


 Dated: January 13, 2025                          Respectfully submitted,

                                                  s/ Cory N. Barnes
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                                                16
